             Case 3:23-cr-01936-RSH Document 37 Filed 06/21/24 PageID.83 Page 1 of 2
AO 245D (CASO Rev. 1/19) Judgment in a Criminal Case for Revocations


                                     UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STA TES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                                                     (For Revocation of Probation or Supervised Release)
                                                                     (For Offenses Committed On or After November 1, 1987)
                                V.
             OLIVER ZACARIAS-VARGAS ( 1)
                                                                        Case Number:        3:23-CR-01936-RSH

                                                                     Robert H Rexrode
                                                                     Defendant's Attorney
REGISTRATION NO.                09673-506
□·

THE DEFENDANT:
IZI   admitted guilt to violation of allegation(s) No.      1

D was found guilty in violation of allegation(s) No.
                                                          ------------- after denial of guilty.
Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                  Nature of Violation
               I                   nvl, Committed a federal, state or local offense




    Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                     June 21. 2024
                                                                     Date of Imposition of Sentence



                                                                      HON. ROBERTS. HUIE
                                                                      UNITED STATES DISTRICT JUDGE
           Case 3:23-cr-01936-RSH Document 37 Filed 06/21/24 PageID.84 Page 2 of 2
AO 245D (CASO Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT:                 OLIVER ZACARIAS-VARGAS (1)                                              Judgment - Page 2 of2
CASE NUMBER:               3 :23-CR-0 1936-RSH

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 8 months concurrent to any term imposed in related case 24cr0379-RSH




 □     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □     The court makes the following recommendations to the Bureau of Prisons:




 □     The defendant is remanded to the custody of the United States Marshal.

□      The defendant shall surrender to the United States Marshal for this district:
       □   at                            A.M.             on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       □
                 ---------
             as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
□
       Prisons:
       □     on or before
       □     as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

I have executed this judgment as follows:
                                                                         to _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       Defendant delivered on

at
     - - - - - - - - - - - - , with a certified copy of this judgment.

                                                                UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL




                                                                                                 3:23-CR-01936-RSH
